                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE


                                    JUDGMENT IN A CRIMINAL CASE
                                     (For Offenses Committed On or After November 1, 1987)

UNITED STATES OF AMERICA                                                     CASE #:         3:11-00082-4
                                                                             USM #:          20719-075
       V.
ALFRED TRYAN COFFEY                                                          Dwight Scott
a/k/a “Renny”                                                                DEFENDANT’S ATTORNEY

THE DEFENDANT:

[x] pleaded guilty to count 1 of the Superseding Indictment.
[] pleaded nolo contendere to count(s) which was accepted by the court.
[] was found guilty on count(s) after a plea of not guilty.

Accordingly, the Court has adjudicated that the defendant is guilty of the following offenses:

                                                                             Date Offense            Count
Title & Section                  Nature of Offense                           Concluded               Number(s)
21 U.S.C § 846 &                 Conspiracy to Distribute and                March, 2011             1
18 U.S.C. § 2                    to Possess With Intent to Distribute
                                 500 Grams or More of Cocaine, 280
                                 Grams or More of Cocaine Base, and
                                 100 Kilograms or More of Marijuana




The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of
1984.

[] The defendant has been found not guilty on count(s) , and is discharged as to such counts.
[] Counts of the Indictment are dismissed as to this defendant on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States District Court and the United States Attorney
for this district within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the Court
and the United States Attorney of material changes in economic circumstances.

                                                                             October 30, 2013
                                                                             Date of Imposition of Judgment

                                                                             _______________________________
                                                                             Signature of Judge

                                                                             Aleta A. Trauger, U.S. District Judge
                                                                             Name & Title of Judge

                                                                             Date Signed: October 31, 2013



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                                          IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
     imprisoned for a term of 120 months.

     The defendant was advised of his right to appeal.

     The Court makes the following recommendations to the Bureau of Prisons:
     1. That defendant be accepted into the RDAP treatment program.
     2. That defendant be housed in a federal facility close to Athens, Alabama.
     3. That defendant receive credit for time served from 4/8/2011.


     [x] The defendant is remanded to the custody of the United States Marshal.
     [] The defendant shall surrender to the United States Marshal for this district,

                 [] at a.m. p.m. on
                 [] as notified by the United States Marshal.

     [] The defendant shall surrender for service of sentence at the institution designated by the Bureau
     of Prisons,

                 [] before 2 p.m. on .
                 [] as notified by the United States Marshal.
                 [] as notified by the Pretrial Services or Probation Office.

                                               RETURN
     I have executed this judgment as follows:

     ______________________________________________________________________________

     ______________________________________________________________________________

     ______________________________________________________________________________

     Defendant delivered on _______________________ to _______________________________,

     with a certified copy of this judgment.

                 ______________________________________________________
                 United States Marshal

                 By ___________________________________________________
                 Deputy Marshal




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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the Court.

[]         The above drug testing condition is suspended based on the court’s determination that the defendant poses a low
           risk of future substance abuse. (Check, if applicable.)
[x]        The defendant shall not possess a firearm, destructive device, or any dangerous weapon. (Check, if applicable.)
[x]        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if
           applicable.)
[]         The defendant shall register with the state sex offender registration agency in the state where the defendant
           resides, works or is a student, as directed by the probation officer. (Check, if applicable.)
[]         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below). The
defendant shall also comply with any additional, special conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least 10 days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless granted
permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
observed in plain view by the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may by occasioned by the defendant’s criminal record or personal
history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification
requirement;




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                                    SUPERVISED RELEASE

                                    SPECIAL CONDITIONS
1.   The defendant shall participate in a program of drug testing and substance abuse treatment which may
     include a 30-day inpatient treatment program followed by up to 90 days in a residential reentry center at
     the direction of the United States Probation Office. The defendant shall pay all or part of the costs if the
     United States Probation Office determines the defendant as the financial ability to do so or has
     appropriate insurance coverage to pay for such treatment.


2.   The defendant shall furnish all financial records, including, without limitation, earnings records and tax
     returns, to the United States Probation Office upon request.

3.   The defendant is prohibited from owning, carrying, or possessing firearms, destructive devices, or other
     dangerous weapons.

4.   The defendant shall cooperate in the collection of DNA as directed by the United States Probation
     Office.




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                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties in accordance with the Schedule of Payments set
forth in this judgment.

                                                  Assessment                        Fine                      Restitution
        Totals:                                   $100                              $                         $

[] The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed
below.

If the defendant makes a partial payment, each payee shall receive an approximate proportioned payment, unless specified
otherwise in the priority order or percentage column below. However, pursuant to 18 U.S.C. § 3664(I), all non-federal
victims must be paid in full before the United States is paid.



Name of Payee                                     Total Loss*                       Restitution Ordered       Priority or %




        Totals:                                   $                                 $

[] Restitution amount ordered pursuant to plea agreement                            $

[] The defendant must pay interest on any fine or restitution of more than $ 2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for default and delinquency, pursuant to 18 U.S.C. § 3612(g).

[] The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

        [] The interest requirement is waived.
        [] The interest requirement is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.




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                                            SCHEDULE OF PAYMENTS
        Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A       [x] Lump sum payment of $100 (special assessment) due immediately, balance due
                      [] not later than _____________________, or
                      [] in accordance with C, D, E, or F; or

B       [] Payment to begin immediately (may be combined with C, D, or F); or

C       [] Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $______________over a
        period of __________(e.g. months or years), to commence ____________(e.g., 30 or 60 days) after the date of
        this judgment; or

D       [] Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $______________over a
        period of __________(e.g. months or years), to commence ____________(e.g., 30 or 60 days) after release from
        imprisonment to a term of supervision; or

E       [] Payment during the term of supervised release will commence within ____________(e.g, 30 or 60 days) after
        release from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
        to pay at that time; or

F       [] Special instructions regarding the payment of criminal monetary penalties:




        Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment,
        payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
        monetary penalties, except those made through the Federal Bureau of Prisons’ Inmate Financial
        Responsibility Program are to be made payable to the Clerk, U.S. District Court, located at 800 U.S.
        Courthouse, 801 Broadway, Nashville, TN 37203.

        The defendant shall receive credit for all payments previously made toward any criminal monetary
        penalties imposed.

[] Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
         Several Amount, and corresponding payee, if appropriate.

[] The defendant shall pay the cost of prosecution.

[] The defendant shall pay the following court cost(s):

[x] The defendant shall forfeit the defendant’s interest in the following property to the United States: by Order of
Forfeiture Consisting of $750,000 United States Currency Money Judgment (Docket Entry No 742) jointly and severally with
co-defendants in criminal case number 3:11-00082.

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine
principal; (5) fine interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court
costs.



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